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                                            BLOCKVEST, LLC and REGINALD
                                        7   BUDDY RINGGOLD, III aka RASOOL
                                            ABDUL RAHIM EL
                                        8
                                        9                      UNITED STATES DISTRICT COURT
                                       10                    SOUTHERN DISTRICT OF CALIFORNIA
12300 Wilshire Boulevard, Suite 210




                                       11 SECURITIES AND EXCHANGE                    Case No.: 18-CV-2287-GPC (BLM)
  CORRIGAN & MORRIS LLP




                                          COMMISSION,
      Los Angeles, CA 90025




                                       12
                                                   Plaintiff,
                                       13                                            DECLARATION OF EVERY
                                              vs.
                                       14                                            ROSEGOLD INVESTMENT LLP’S
                                          BLOCKVEST, LLC and REGINALD
                                       15 BUDDY RINGGOLD, III aka RASOOL             INVESTOR IN SUPPORT OF
                                          ABDUL RAHIM EL,
                                       16                                            DEFENDANTS’ EX PARTE
                                                   Defendants.
                                       17                                            APPLICATION FOR AN ORDER:
                                       18
                                       19                                               (1) SETTING AN
                                                                                            EVIDENTIARY HEARING
                                       20                                                   ON THE SEC’S REQUEST
                                       21                                                   FOR PRELIMINARY
                                                                                            INJUNCTION AND OTHER
                                       22                                                   RELIEF;
                                       23                                               (2) GRANTING PERMISSION
                                                                                            TO FILE DECLARATIONS
                                       24                                                   OF INVESTORS IN
                                       25                                                   ROSEGOLD INVESTMENTS
                                                                                            LLP AND SECOND
                                       26                                                   SUPPLEMENTAL
                                                                                            DECLARATION OF
                                       27                                                   REGINALD RINGGOLD, III
                                       28
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Business Fundamentals Chk ­ 0880: Account Activity Transaction Details



                        Post date:      03/13/2018

                          Amount:       10,000.00

                                Type:   Deposit

                     Description:       Counter Credit

               Merchant name:           Counter Credit


                     Transaction        Income: Deposits
                       category:




                                                            




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Business Fundamentals Chk ­ 0880: Account Activity Transaction Details



                        Post date:      06/04/2018

                          Amount:       10,000.00

                                Type:   Deposit

                     Description:       Counter Credit

               Merchant name:           Counter Credit


                     Transaction        Income: Deposits
                       category:




                                                            




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Business Fundamentals Chk ­ 0880: Account Activity Transaction Details



                        Post date:      06/08/2018

                          Amount:       5,000.00

                                Type:   Deposit

                       Purchaser:       E MICHAEL SHEPPARD

                     Description:       BKOFAMERICA ATM 06/08 #000001374
                                        DEPOSIT MISSION VALLEY SAN DIEGO CA
                                        CKCD 4815880019101429

               Merchant name:           BKOFAMERICA ATM DEPOSIT MISSION VALLE
                                        CA

                     Transaction        Income: Deposits
                       category:




                                                            




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                                DECLARATION OF JOSE S YNIGUEZ Sr.

             I, Jose S Yniguez Sr., declare as follows:

                 1. I am over eighteen years old. I have personal knowledge of the facts stated
                     herein and, if called and sworn as a witness, would and could testify
                     completely thereto.

               • 2. I have invested on various dates $15,300 into Rosegold LLP, which I
                     understood was managed by Michael Sheppard.

                 3. At the time of my investment, my net worth, excluding my home, was in
                    excess of $750,000. I consider myself a sophisticated investor.

                 4. I learned of this investment through my personal relationship with Michael
                    Sheppard, who has a long relationship with Reginald Ringgold.

                 5. My conversations with Michael Sheppard, and his recommendation, are the
                    primary reasons I invested.

                 6. My understanding was Michael Sheppard would use my money to invest in
                    the cryptocurrency marketplace in the way that Rosegold deemed best.

                 7. Before I sent any money to Rosegold Investments LLP, I did not review or
                    rely on Rosegold Investments LLP's website or any offering documents or
                    anything on the internet about Rosegold Investments LLP.

                 8. Before sending any money to Rosegold Investments LLP, I did not review or
                    rely on the Blockvest Website, Whitepaper Facebook page, and/or LinkedIn
                    page referencing Blockvest. I never listened to any webinar or video or
                    attended any seminar on Blockvest or anything else on the internet about
                    Blockvest.

                 9. At the time I invested, it was not important for me to know anything about
                    the exact use of my funds, other that they would be deployed in the
                    cryptocurrency related enterprise by Michael Sheppard, who I believed an
                    expert in the field. I understood that Rosegold was a very risky and
                    speculative investment and that I could lose all my money.


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                10. Before sending my money to Rosegold Investments, I did not review or rely
                   on Reginald Ringgold's web page, LinkedIn page, or anything else on the
                   internet having to do with Mr. Ringgold.


                 11.In connection with my Rosegold investment, I expressly authorized Michael
                    Sheppard of Rosegold to use his unfettered discretion to allocate the funds
                    that I invested in any manner that he, in good faith, decided was in the best
                    interests of Rosegold. It was at that time and remains today, entirely
                    unimportant to me whether my funds were invested entirely in Blockvest
                    LLC or any other investment.

                 12. I authorized Michael Sheppard to use his unfettered discretion to use the
                    money in any good manner, provided that he exercised reasonable business
                    judgement in good faith.

                 13. At the time I invested in Rosegold, I understood that I was making a long-
                    term crypto related investment and that the returns in this fast-evolving area
                    are highly speculative. What was important to me was that I trusted Michael
                    Sheppard and that he was pursuing a business plan, in good faith.

                 14.1 have read the SEC's complaint filed in the United States District Court in
                    the Southern District of California and the allegations that in the complaint
                    do not change my desire to have Michael Sheppard and Rosegold use my
                    funds in the cryptocurrency space. I did not rely on any of the
                    representations that the SEC alleges Blockvest and/or Michael Sheppard
                    made at various times.

                 15.1 DECLARE under penalty of perjury under the laws of the United States
                    that the foregoing is true and correct.




                                                             Pri ed Name:                 uez Sr.




             Investor Declaration
             Case No.: LA18-cv-02287 GP-BLM



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                                DECLARATION OF Gilbert Yniguez

             I, Gilbert Yniguez, declare as follows:

                 1. I am over eighteen years old. I have personal knowledge of the facts stated
                    herein and, if called and sworn as a witness, would and could testify
                    completely thereto.

                2. I have invested a total $17,400 on various dates into Rosegold LLP, which I
                   understood was managed by Michael Sheppard.

                3. At the time of my investment, my net worth, excluding my home, was in
                   excess of $150,000. I consider myself a sophisticated investor.

                4. I learned of this investment through a close, personal, friend who has a long
                   relationship with Michael Sheppard, who has a long relationship with
                   Reginald Ringgold.

                5. I invested my money with Rosegold based on my relationship with Michael
                   Sheppard or my initial contact was with Michael Sheppard, and my
                   conversations with Michael Sheppard, recommendation, are the primary
                   reasons I invested and not based on any specific representation about
                   anything specific on the Internet or otherwise.

                 6. My understanding was Michael Sheppard would use my money to invest in
                    the cryptocurrency marketplace in the way that Rosegold deemed best.

                 7. Before I invested in Rosegold, I never listened to any webinar or video or
                    attended any seminar on Blockvest LLC.

                 8. Before I invested in Rosegold, I never reviewed or saw the Blockvest
                    website, Facebook page, and/or Linkedin page referencing Blockvest.

                 9. Before investing in Rosegold, I never read any white paper or any other
                    materials on Blockvest or anything else on the Internet about Rosegold
                    Investments LLP. I did not review or rely on Reginald Ringgold's web
                    page, Linkedln page, or anything else on the Internet having to do with Mr.
                    Ringgold.


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                 10.At the time I invested, it was not important for me to know anything about
                    the exact use of my funds, other that they would be deployed in the
                    cryptocurrency related enterprise by Michael Sheppard, who I believed an
                    expert in the field. I understood that Rosegold was a very risky and
                    speculative investment and that I could lose all my money.

                 11.In connection with my Rosegold Investment, I expressly authorized Michael
                    Sheppard of Rosegold to use his unfettered discretion to allocate the funds
                    that I invested in any manner that he, in good faith, decided was in the best
                    interest of Rosegold. It was at that time and remains today, entirely
                    unimportant to me whether my funds were invested entirely in Blockvest
                    LLC or any other investment.

                 12.1 authorize Michael Sheppard to use his unfettered discretion to use my
                    money in any manner, provided that he exercised reasonable business
                   judgment on good faith.

                 13.At the time I invested in Rosegold, I understood that I was making a long-
                    term crypto related investment and that the returns in this fast-evolving area
                    are highly speculative. What was important to me was that I trusted Michael
                    Sheppard and that he was pursuing a business plan, in good faith.

                 14.1 have read the SEC's complaint filed in the United States District Court in
                    the Southern District of California and the allegations that in the complaint
                    do not change my desire to have Michael Sheppard and Rosegold use my
                    funds in the cryptocurrency space. I did not rely on any of the
                    representations that the SEC alleges Blockvest and/or Michael Sheppard
                    made at various times.

                 15.1 DECLARE under penalty of perjury under the laws of the United States
                    that the foregoing is true and correct.




                                                               rinted Name. ilbert Yniguez



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                           DECLARATION OF GEORGE CARRIZALES

             I, George Carrizales, declare as follows:

                 1. I am over eighteen years old. I have personal knowledge of the facts stated
                    herein and, if called and sworn as a witness, would and could testify
                    completely thereto.

                 2. March of 2018 I invested $4,000 into Rosegold LLP, which I understood
                    was managed by Michael Sheppard.

                 3. At the time of my investment, my net worth was in excess of $250,000. I
                    consider myself an educated investor.

                 4. I learned of this investment through a close, personal friend who has a long
                    relationship with Michael Sheppard.

                 5. My conversations with Michael Sheppard, and my friend's recommendation,
                    are the primary reasons I invested.

                 6. My understanding was Michael Sheppard would use my money to invest in
                    the cryptocurrency marketplace in the way that Rosegold deemed best.

                 7. At the time I invested, it was not important for me to know anything about
                    the exact use of my funds, other that they would be deployed in the
                    cryptocurrency related enterprise by Michael Sheppard, who I believed an
                    expert in the field. I understood that Rosegold was a very risky and
                    speculative investment and that I could lose all my money.

                 8. Before I sent any money to Rosegold Investments LLP, I did not review or
                    rely on Rosegold Investments LLP's website or any offering documents or
                    anything on the internet about Rosegold Investments LLP.

                 9. Before sending any money to Rosegold Investments LLP, I did not review or
                    rely on the Blockvest Website or Whitepaper, Facebook page, and/or
                    Linkedin page or anything else on the Internet about Blockvest.

                 10. Before sending my money to Rosegold Investments, I did not review or rely
                    on Reginald Ringgold's web page, Linkedln page, or anything else on the
                    internet having to do with Mr. Ringgold.
             Investor Declaration
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                 11.In connection with my Rosegold investment, I expressly authorized Michael
                    Sheppard of Rosegold to use his unfettered discretion to allocate the funds
                    that I invested in any manner that he, in good faith, decided was in the best
                    interests of Rosegold. It was at that time and remains today, entirely
                    unimportant to me whether my funds were invested entirely in Blockvest
                    LLC or any other investment.

                 12. I authorized Michael Sheppard to use his unfettered discretion to use the
                    money in any good manner, provided that he exercised reasonable business
                    judgement in good faith.

                 13. At the time I invested in Rosegold, I understood that I was making a long-
                    term crypto related investment and that the returns in this fast-evolving area
                    are highly speculative. What was important to me was that I trusted Michael
                    Sheppard and that he was pursuing a business plan, in good faith.

                 14.1 have read the SEC's complaint filed in the United States District Court in
                    the Southern District of California and the allegations that in the complaint
                    do not change my desire to have Michael Sheppard and Rosegold use my
                    funds in the cryptocurrency space. I did not rely on any of the
                    representations that the SEC alleges Blockvest and/or Michael Sheppard
                    made at various times.

                 15.1 DECLARE under penalty of perjury under the laws of the United States
                    that the foregoing is true and correct.




                                                             Print d Name: George arrizales




              Investor Declaration
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Business Fundamentals Chk ­ 0880: Account Activity Transaction Details



                        Post date:      03/23/2018

                          Amount:       4,000.00

                                Type:   Deposit

                     Description:       Counter Credit

               Merchant name:           Counter Credit


                     Transaction        Income: Deposits
                       category:




                                                            




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                   DECLARATION OF MONICA MOC, CHARLES MANGA


       I, Monica Moc and Charles Manga, declare as follows:

           1. I am over eighteen years old. I have personal knowledge of the facts stated
              herein and, if called and sworn as a witness, would and could testify
              completely thereto.

           2. On 07/04/2018, I invested $8,000 into Rosegold LLP, which I understood
              was managed by Michael Sheppard.

           3. At the time of my investment, my net worth, excluding my home, was in
              excess of $1,000,000. My income was more than $200,000, with my
              spouse, for the last two years with the expectation of earning the same or
              higher income.

           4. I consider myself a sophisticated investor.

           5. I learned of this investment through my personal relationship with Leo
              Bandoy, who has a long relationship with Michael Sheppard.

           6. My relationship with Leo Bandoy, and my conversations with Michael
              Sheppard, and my friend’s recommendation are the primary reasons I
              invested.

           7. My understanding was Michael Sheppard would use my money to invest in
              the cryptocurrency marketplace in the way that Rosegold deemed best.

           8. Before I invested in Rosegold, I never listened to any webinar or video or
              attended any seminar on Blockvest LLC.

           9. Before I invested in Rosegold, I never reviewed or saw the Blockvest
              website, Facebook page, and/or LinkedIn page referencing Blockvest.

           10.Before investing in Rosegold, I never read any whitepaper or any other
              materials on Blockvest.



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          11.At the time I invested, it was not important for me to know anything about
             the exact use of my funds, other that they would be deployed in the
             cryptocurrency related enterprise by Michael Sheppard, who I believed an
             expert in the field. I understood that Rosegold was a very risky and
             speculative investment and that I could lose all my money.

          12.Before I sent any money to Rosegold Investments LLP, I did not review or
             rely on Rosegold Investments LLP’s website or any offering documents or
             anything on the internet about Rosegold Investments LLP.

          13.Before sending any money to Rosegold Investments LLP, I did not review or
             rely on the Blockvest Website or Whitepaper or anything else on the internet
             about Blockvest.

          14. Before sending my money to Rosegold Investments, I did not review or rely
             on Reginald Ringgold’s web page, LinkedIn page, or anything else on the
             internet having to do with Mr. Ringgold.

          15.In connection with my Rosegold investment, I expressly authorized Michael
             Sheppard of Rosegold to use his unfettered discretion to allocate the funds
             that I invested in any manner that he, in good faith, decided was in the best
             interests of Rosegold. It was at that time and remains today, entirely
             unimportant to me whether my funds were invested entirely in Blockvest
             LLC or any other investment.

          16. I authorized Michael Sheppard to use his unfettered discretion to use the
             money in any good manner, provided that he exercised reasonable business
             judgement in good faith.

          17. At the time I invested in Rosegold, I understood that I was making a long-
             term crypto related investment and that the returns in this fast-evolving area
             are highly speculative. What was important to me was that I trusted Michael
             Sheppard and that he was pursuing a business plan, in good faith.

          18.I have read the SEC’s complaint filed in the United States District Court in
             the Southern District of California and the allegations that in the complaint
             do not change my desire to have Michael Sheppard and Rosegold use my
             funds in the cryptocurrency space. I did not rely on any of the


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               representations that the SEC alleges Blockvest and/or Michael Sheppard
               made at various times.

           19.I DECLARE under penalty of perjury under the laws of the United States
              that the foregoing is true and correct.



                                                      ___________________________
                                                      Printed Name: Monica Moc
                                                                    Charles Manga




       Investor Declaration
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                                  DECLARATION OF NICHOLAS SUGINO

                   I, Nicholas Sugino, declare as follows:

                       I. I am over eighteen years old. I have personal knowledge of the facts stated
                           herein and, if called and sworn as a witness, would and could testify
                           completely thereto.

                      2. I have invested $1,000 into Rosegold LLP, which I understood was managed
                         by Michael Sheppard.

                       3. At the time of my investment, my net worth, excluding my home, was in
                          excess of $250,000. My income was more than $75,000 for the last two
                          years with the expectation of earning the same or higher income.

                      4. I consider myself a sophisticated investor.

                       5. I learned of this investment through a close, personal, friend who has a long
                          relationship with Michael Sheppard.

                       6. My conversations with Michael Sheppard, and my friend's recommendation,
                          are the primary reasons I invested.

                       7. My understanding was Michael Sheppard would use my money to invest in
                          the cryptocurrency marketplace in the way that Rosegold deemed best.

                       8. At the time I invested, it was not important for me to know anything about
                          the exact use of my funds, other that they would be deployed in the
                          cryptocurrency related enterprise by Michael Sheppard, who I believed an
                          expert in the field. I understood that Rosegold was a very risky and
                          speculative investment and that I could lose all my money.

                       9. Before I sent any money to Rosegold Investments LLP, I did not review or
                          rely on Rosegold Investments LLP's website or any offering documents or
                          anything on the internet about Rosegold Investments LLP.

                          Before sending any money to Rosegold Investments LLP, I did not review or
                          rely on the Blockvest Website or Whitepaper or anything else on the internet
                          about Blockvest.

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                    Case No.: LA18-ev-02287 GP-BLM




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                         Before sending my money to Rosegold Investments, I did not review or rely
                         on Reginald Ringgold's web page, LinkedIn page, or anything else on the
                         internet having to do with Mr. Ringgold.

                         I sent my money to Rosegold based solely on my personal relationship with
                         my friend and Michael Sheppard, and not based on any specific
                         representation about anything specific on the internet or otherwise.


                      10.In connection with my Rosegold investment, I expressly authorized Michael
                         Sheppard of Rosegold to use his unfettered discretion to allocate the funds
                         that I invested in any manner that he, in good faith, decided was in the best
                         interests of Rosegold. It was at that time and remains today, entirely
                         unimportant to me whether my funds were invested entirely in Blockvest
                         LLC or any other investment.

                      11. I authorized Michael Sheppard to use his unfettered discretion to use the
                        money in any good manner, provided that he exercised reasonable business
                        judgement in good faith.

                      12. At the time I invested in Rosegold, I understood that I was making a long-
                        term crypto related investment and that the returns in this fast-evolving area
                         are highly speculative. What was important to me was that I trusted Michael
                         Sheppard and that he was pursuing a business plan, in good faith.

                      13.1 have read the SEC's complaint filed in the United States District Court in
                         the Southern District of California and the allegations that in the complaint
                         do not change my desire to have Michael Sheppard and Rosegold use my
                         funds in the cryptocurrency space. I did not rely on any of the
                         representations that the SEC alleges Blockvest and/or Michael Sheppard
                         made at various times.

                      14.1 DECLARE under penalty of perjury under the laws of the United States
                         that the foregoing is true and correct.




                                                                  Printed ame: icholas Sugino
                  Investor Declaration
                  Case No.: LA18 cv 02287 GP BLM
                                 -   -       -




Rosegold Investor Declaration                                                                            Page 39
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Business Fundamentals Chk ­ 0880: Account Activity Transaction Details



                        Post date:      03/19/2018

                          Amount:       1,000.00

                                Type:   Deposit

                     Description:       Counter Credit

               Merchant name:           Counter Credit


                     Transaction        Income: Deposits
                       category:




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                            DECLARATION OF YVETTE OSSINALDE


            I, Yvette Ossinalde, declare as follows:

                1. I am over eighteen years old. I have personal knowledge of the facts stated
                   herein and, if called and sworn as a witness, would and could testify
                   completely thereto.

                2. On June 1st, 2018, I invested $3,000 into Rosegold LLP, which I understood
                   was managed by Michael Sheppard.

                3. At the time of my investment, my net worth, excluding my home, was in
                   excess of $750,000. I consider myself a sophisticated investor.

                4. I learned of this investment through my personal relationship with Michael
                   Sheppard, who has a long relationship with Reginald Ringgold.

                5. My relationship with Michael Sheppard, and his recommendation, are the
                   primary reasons I invested.

                6. My understanding was Michael Sheppard would use my money to invest in
                   the cryptocurrency marketplace in the way that Rosegold deemed best.

                7. At the time I invested, it was not important for me to know anything about
                   the exact use of my funds, other that they would be deployed in the
                   cryptocurrency related enterprise by Michael Sheppard, who I believed an
                   expert in the field. I understood that Rosegold was a very risky and
                   speculative investment and that I could lose all my money.

                8. Before I sent any money to Rosegold Investments LLP, I did not review or
                   rely on Rosegold Investments LLP's website or any offering documents or
                   anything on the internet about Rosegold Investments LLP.

                9. Before sending any money to Rosegold Investments LLP, I did not review or
                   rely on the Blockvest Website or Whitepaper or anything else on the internet
                   about Blockvest.



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                10. Before sending my money to Rosegold Investments, I did not review or rely
                   on Reginald Ringgold's web page, LinkedIn page, or anything else on the
                   Internet having to do with Mr. Ringgold.

                11.In connection with my Rosegold investment, I expressly authorized Michael
                   Sheppard of Rosegold to use his unfettered discretion to allocate the funds
                   that I invested in any manner that he, in good faith, decided was in the best
                   interests of Rosegold. It was at that time and remains today, entirely
                   unimportant to me whether my funds were invested entirely in Blockvest
                   LLC or any other investment.

                 12. I authorized Michael Sheppard to use his unfettered discretion to use the
                    money in any good manner, provided that he exercised reasonable business
                    judgement in good faith.

                 13. At the time I invested in Rosegold, I understood that I was making a long-
                    term crypto related investment and that the returns in this fast-evolving area
                    are highly speculative. What was important to me was that I trusted Michael
                    Sheppard and that he was pursuing a business plan, in good faith.

                 14.1 have read the SEC's complaint filed in the United States District Court in
                    the Southern District of California and the allegations that in the complaint
                    do not change my desire to have Michael Sheppard and Rosegold use my
                    funds in the cryptocurrency space. I did not rely on any of the
                    representations that the SEC alleges Blockvest and/or Michael Sheppard
                    made at various times.

                 15.1 DECLARE under penalty of perjury under the laws of the United States
                    that the foregoing is true and correct.




                                                             P rated Name: Yvette Ossinalde




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Business Fundamentals Chk ­ 0880: Account Activity Transaction Details



                        Post date:      06/04/2018

                          Amount:       3,000.00

                                Type:   Deposit

                     Description:       Counter Credit

               Merchant name:           Counter Credit


                     Transaction        Income: Deposits
                       category:




                                                            




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                          DECLARATION OF FRANCISCA CARDENAS
               I, Francisca Cardenas, declare as follows:

                  I. I am over eighteen years old. I have personal knowledge of the facts stated
                     herein and, if called and sworn as a witness, would and could testify
                     completely thereto.

                  2. I have invested $5,000 into Rosegold LLP, which I understood was managed
                     by Michael Sheppard.

                  3. At the time of my investment, my net worth was in excess of $1,000,000.
                     My income was more than $100,000 with my spouse, for the last two years
                     with the expectation of earning the same or higher income.

                  4. I consider myself a sophisticated investor.

                  5. I learned of this investment through a close, personal friend who has a long
                     relationship with Michael Sheppard.

                  6. My conversations with Michael Sheppard, and my friend's recommendation,
                     are the primary reasons I invested.

                  7. My understanding was Michael Sheppard would use my money to invest in
                     the cryptocurrency marketplace in the way that Rosegold deemed best.

                  8. At the time I invested, it was not important for me to know anything about
                     the exact use of my funds, other that they would be deployed in the
                     cryptocurrency related enterprise by Michael Sheppard, who I believed an
                     expert in the field. I understood that Rosegold was a very risky and
                     speculative investment and that I could lose all my money.

                  9. Before I sent any money to Rosegold Investments LLP, I did not review or
                     rely on Rosegold Investments LLP's website or any offering documents or
                     anything on the internet about Rosegold Investments LLP.

                  10.Before sending any money to Rosegold Investments LLP, I did not review or
                     rely on the Blockvest Website or Whitepaper or anything else on the internet
                     about Blockvest.

                 vestor Declaration
                 se No.: LA18-cv-02287 GP-BLM




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                  11. Before sending my money to Rosegold Investments, I did not review or rely
                     on Reginald Ringgold's web page, LinkedIn page, or anything else on the
                     internet having to do with Mr. Ringgold.


                  12.In connection with my Rosegold investment, I expressly authorized Michael
                     Sheppard of Rosegold to use his unfettered discretion to allocate the funds
                     that I invested in any manner that he, in good faith, decided was in the best
                     interests of Rosegold. It was at that time and remains today, entirely
                     unimportant to me whether my funds were invested entirely in Blockvest
                     LLC or any other investment.

                  13. I authorized Michael Sheppard to use his unfettered discretion to use the
                     money in any good manner, provided that he exercised reasonable business
                    judgement in good faith.

                  14. At the time I invested in Rosegold, it was not important to me to know
                     anything aabout the exact use of my funds, other that they would be
                     deployed I n a cryptocurrency related enterprise by Michael Sheppard, who I
                     believed to be an expert in the field. I understood that I was making a long-
                     term crypto related investment and that the returns in this fast-evolving area
                     are highly speculative. What was important to me was that I trusted Michael
                     Sheppard and that he was pursuing a business plan, in good faith.

                  15.1 have read the SEC's complaint filed in the United States District Court in
                     the Southern District of California and the allegations that in the complaint
                     do not change my desire to have Michael Sheppard and Rosegold use my
                     funds in the cryptocurrency space. I did not rely on any of the
                     representations that the SEC alleges Blockvest and/or Michael Sheppard
                     made at various times.

                   16.1 DECLARE under penalty of perjury under the laws of the United States
                      that the foregoing is true and correct.



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                                                                  nt 'lame: rancisca Cardenas
                nvestor Declaration
                 ase No.: LA18-cv-02287 GP-BLM




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Business Fundamentals Chk ­ 0880: Account Activity Transaction Details



                        Post date:      01/29/2018

                          Amount:       12,500.00

                                Type:   Deposit

                     Description:       Counter Credit

               Merchant name:           Counter Credit


                     Transaction        Income: Deposits
                       category:




                                                            




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                                                         Scanned with CamScanner
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                                  DECLARATION OF Carlos Cardenas


                I, Carlos Cardenas, declare as follows:

                   1. I am over eighteen years old. I have personal knowledge of the facts stated
                      herein and, if called and sworn as a witness, would and could testify
                      completely thereto.

                   2. I have invested $2,500 into Rosegold LLP, which I understood was managed
                      by Michael Sheppard.

                   3. At the time of my investment, my net worth, excluding my home, was in
                      excess of $500,000. My income was more than $100,000 with my spouse,
                      for the last two years with the expectation of earning the same or higher
                      income.

                   4. I consider myself a sophisticated investor.

                    5. I learned of this investment through a personal, friend who has a long
                       relationship with Michael Sheppard.

                   6. My conversations with Michael Sheppard recommendation are the primary
                      reasons I invested.

                    7. My understanding was Michael Sheppard would use my money to invest in
                       the cryptocurrency marketplace in the way that Rosegold deemed best.

                    8. At the time I invested, it was not important for me to know anything about
                       the exact use of my funds, other that they would be deployed in the
                       cryptocurrency related enterprise by Michael Sheppard, who I believed an
                       expert in the field. I understood that Rosegold was a very risky and
                       speculative investment and that I could lose all my money.

                    9. Before I sent any money to Rosegold Investments LLP, I did not review or
                       rely on Rosegold Investments LLP's website or any offering documents or
                       anything on the internet about Rosegold Investments LLP.

                       Before sending any money to Rosegold Investments LLP, I did not review or

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                      rely on the Blockvest Website or Whitepaper or anything else on the intemet
                      about Blockvest. Before sending my money to Rosegold Investments, I did
                      not review or rely on Reginald Ringgold's web page, LinkedIn page, or
                      anything else on the internet having to do with Mr. Ringgold.
                      I sent my money to Rosegold based solely on my personal relationship with
                      my friend and Michael Sheppard, and not based on any specific
                      representation about anything specific on the internet or otherwise.


                   10.In connection with my Rosegold investment, I expressly authorized Michael
                      Sheppard of Rosegold to use his unfettered discretion to allocate the funds
                      that I invested in any manner that he, in good faith, decided was in the best
                      interests of Rosegold. It was at that time and remains today, entirely
                      unimportant to me whether my funds were invested entirely in Blockvest
                      LLC or any other investment.

                   11. I authorized Michael Sheppard to use his unfettered discretion to use the
                      money in any good manner, provided that he exercised reasonable business
                     judgement in good faith.

                   12. At the time I invested in Rosegold, I understood that I was making a long-
                      term crypto related investment and that the returns in this fast-evolving area
                      are highly speculative. What was important to me was that I trusted Michael
                      Sheppard and that he was pursuing a business plan, in good faith.

                   13.1 have read the SEC's complaint filed in the United States District Court in
                      the Southern District of California and the allegations that in the complaint
                      do not change my desire to have Michael Sheppard and Rosegold use my
                      funds in the cryptocurrency space. I did not rely on any of the
                      representations that the SEC alleges Blockvest and/or Michael Sheppard
                      made at various times.

                   14.I DECLARE under penalty of perjury under the laws of the United States
                      that the foregoing is true and correct.




                                                               Printed Name: Carlos Cardenas
                Investor Declaration
                Case No.: LA18-cv-02287 GP-BLM




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Business Fundamentals Chk ­ 0880: Account Activity Transaction Details



                        Post date:      01/29/2018

                          Amount:       12,500.00

                                Type:   Deposit

                     Description:       Counter Credit

               Merchant name:           Counter Credit


                     Transaction        Income: Deposits
                       category:




                                                            




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Rosegold Investor Name                      Amount    Declaration   Date




      1.      Jose Yniguez                  $15,300   Yes
              (Jose Yniguez is the father
              of Joe Yniguez, who works
              at Blockvest with Reginald
              Ringgold as Mr. Ringgold’s
              assistant).

      2.       Joe Yniguez (made          $4,300      Yes
              deposits on behalf of
              Yniguez and Associates in
              the amount of $4,300 and on
              behalf of Reginald Ringgold
              in the amount of $23,900.
              Joe Yniguez works for
              Blockvest as assistant to
              Ringgold.

      3.      Carlos Cardenas               $2,500    Yes           1/29/18
              (friend of Joe Yniguez)

      4.      Francisca Cardenas           $5,000     Yes           1/29/2018
              (Mother of Carlos,
              Cardenas, who is friend with
              the assistant to Blockvest
              founder).

      5.      Gilbert Yniguez               $17,400   Yes           1/31/2018
              (Brother of Joes Yniguez,                             3/1/2018
              and Uncle Blockvest
              employee, Joe Yniguez)

       6.     George Tirone                 $25,000   Yes
              (Uncle of Blockvest
              employee Joe Yniguez)

       7.     George Carrizales             $4,000    Yes           3/23/2018
              (Friend of Blockvest CFO
              Michael Sheppard and Joe
              Yniguez).




                                                                                        1

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     8.      Chase Pfohl                   $3,000             Yes   5/1/2018
             Block vest contractor-
             product marketing)

     9.      Jonathan Robinson             $5,000             Yes   5/11/2018
             (Friend of Blockvest
             worker, Joe Yniguez)

      10.    Leon and Benjy Comley         $5,000           Yes     7/25/2018
              (Friends of Leo Bandoy       $5,000                   7/9/2018
             CEO of Blockvest)             $10,000                  7/14/2018
             (Invested on behalf of two    $4,250 ($24,250)         8/2/2018
             minor children: Eric and
             Cornelius Chapman).

     Minor Children of Leon and            $ 2,000            N/A   3/23/2018
     Benjy Comley (Cornelius               $ 5,000 ($7,000)         7/25/2018
     Chapman and Eric Chapman (as
     stated above the Comley’s are
     friends of Blockvest CEO.
    11.      Monica Moc                    $8,000             Yes   7/2/2018
             Relative of CEO Leo
             Bandoy believed to be a
             cousin or aunt)

    12.      Chris Russell                 $3,000             Yes   7/30/2018
             (friend of Chase of Pfohl
             who is a Blockvest worker).

    13.      Alana Meiners                 $20,000            Yes   8/24/2018
             (Personal Friends with
             Michael Sheppard-
             Blockvest CFO, and Joe
             Yniguez)

     14.      Nicholas Sugino              $1,000             Yes   3/13/2018
             (Personal friend of Joe and
             M. Sheppard)

     15.     Yvette Ossinalde              $3,000             Yes   6/1/2018
             (Gilbert Yniguez’s girlfriend
             (Gilbert is Uncle of
             Blockvest employee)

     16.     Victor Berber                 $2,000             Yes   4/17/2018
             (Joe Yinguez’s friend)

TOTAL OF INVESTORS                         $149,700
                                                                                        2


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    Reginald Ringgold            $356,900
                                 $23,900
                                 (Deposited by
                                 Joe Yniguez)
                                 $149,000 (wire
                                 to developer)
                                 $180,000
                                 borrowed from
                                 Mr. Lemay)
    Michael Sheppard             $8000                    9/14/18
      CFO of Blockvest




                                                                                       3


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                                        PERSONAL LOAN TO REGINALD RINGGOLD, III




            1. Norm Lemay (Mr.                      $185,000
               Lemay has a twenty-
              year relationship with
              Mr. Ringgold’s family).
                                                       1




                                                                                  4


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